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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9

10          JULIE BALLOU,                                 CASE NO. C19-5002JLR

11                               Plaintiff,               ORDER VACATING ORDERS
                   v.
12
            JAMES MCELVAIN, et al.,
13
                                 Defendants.
14

15          Because this matter is presently on appeal (see Not. of App. (Dkt. # 73)), the court

16   VACATES the July 10, 2020, order resetting the trial date to a date uncertain following

17   January 1, 2022 (see 7/10/20 Order (Dkt. # 80)). The court will set a new trial date, if

18   //

19   //

20   //

21   //

22   //


     ORDER - 1
              Case 3:19-cv-05002-JLR Document 82 Filed 09/14/20 Page 2 of 2




 1   necessary, and related case schedule deadlines, following completion of the appeal.

 2         Dated this 14th day of September, 2020.

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 4                                                   A
                                                     JAMES L. ROBART
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                                                     United States District Judge
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     ORDER - 2
